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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF KENTUCKY
                             SOUTHERN DIVISION
                                  PIKEVILLE

 UNITED STATES OF AMERICA,                   )
                                             )     Criminal No. 12-08-ART-HAI-2
       Plaintiff,                            )
                                             )     Criminal No. 12-08-ART-HAI-3
 v.                                          )
                                             )
 BEVERLY LOCKHART and                        )
                                             )                ORDER
 THAD RAY MANNING,
                                             )
        Defendants.                          )
                                  *** *** *** ***

      This matter is before the Court on the Magistrate Judge’s Report and

Recommendation.     R. 75.   The deadline for filing any objections has passed, and no

objections have been filed. See Fed. R. Crim. P. 59(b)(2). Accordingly, it is ORDERED

that the Report and Recommendation, R. 75, is ADOPTED as the opinion of the Court.

      This the 19th day of November, 2012.
